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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    LUFKIN DIVISION

RAYMON GREGORY COWART                             §
                                                  §
V.                                                §             CASE NO. 9:17-CV-42
                                                  §                (Jury)
STATE FARM MUTUAL AUTOMOBILE                      §
INSURANCE AND DAWN INGALLS                        §

     NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b) (DIVERSITY)

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

       PLEASE TAKE NOTICE that Defendant State Farm Mutual Automobile Insurance

Company (incorrectly identified as State Farm Mutual Automobile Insurance), hereinafter referred

to as “State Farm”, hereby removes to this Court, the state court action described below.

1.     The above entitled action was originally filed and is pending in the District Court of Trinity

County, Texas under Cause No. 22482. Citation naming State Farm Mutual Automobile Insurance

and Dawn Ingalls as Defendants was served, together with Plaintiff's Original Petition and Request

for Disclosures, Plaintiff’s Request for Interrogatories 1-20 to Defendant and Plaintiff’s Request for

Production Numbers 1-21 to Defendant on or about March 7, 2017. No other proceedings have

occurred in the 258th Judicial District Court of Trinity County, Texas.

2.     This is a civil action in which Plaintiff seeks judgment against Defendants regarding an

insurance policy and contractual relationship. Based upon information and belief and the allegations

within Plaintiff's pleadings, Plaintiff fraudulently joined Defendant Dawn Ingalls in a misguided

attempt to destroy this Court’s diversity jurisdiction. Plaintiff additionally misnamed the properly

joined Defendant, State Farm Mutual Automobile Insurance Company, under the misnomer “State

Farm Mutual Automobile Insurance.”

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